

People v Works (2022 NY Slip Op 07361)





People v Works


2022 NY Slip Op 07361


Decided on December 23, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, CURRAN, WINSLOW, AND MONTOUR, JJ.


855 KA 19-01935

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vJAMELL WORKS, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






D.J. &amp; J.A. CIRANDO, PLLC, SYRACUSE (JOHN A. CIRANDO OF COUNSEL), FOR DEFENDANT-APPELLANT. 
WILLIAM J. FITZPATRICK, DISTRICT ATTORNEY, SYRACUSE (BRADLEY W. OASTLER OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Onondaga County (Gordon J. Cuffy, A.J.), rendered November 8, 2018. The judgment convicted defendant upon his plea of guilty of driving while ability impaired by drugs. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Works ([appeal No. 1] — AD3d — [Dec. 23, 2022] [4th Dept 2022]).
Entered: December 23, 2022
Ann Dillon Flynn
Clerk of the Court








